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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 IN RE CATTLE AND BEEF ANTITRUST                Case No. 0:20-cv-01319 (JRT/HB)
 LITIGATION
                                                STATEMENT THAT ENTIRE
 This document relates to:                    DOCUMENT IS CONFIDENTIAL OR
 Winn Dixie, Inc. & Bi-Lo Holding, LLC         IMPRACTICABLE TO REDACT
 vs. Cargill, Inc., et al., Case No. 21-cv-
 1751 (JRT/HB)


       Exhibit 1 submitted in support of Defendants’ Motion to Compel Discovery from

Plaintiffs Winn Dixie, Inc. and Bi-Lo Holding, LLC was filed under seal pursuant to the

Court’s Protective Order in this matter, because the entire document is confidential and

redaction is impracticable.
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